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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                               CRIM. NO. 15-210 (MJD/JSM)

         Plaintiff,

v.                                                                            ORDER

JONATHAN PEREZ-JUAREZ (5),

         Defendant.


         The above matter came before the Court upon the Report and Recommendation

of United States Magistrate Judge Janie S. Mayeron dated October 14, 2015.          No

objections have been filed to that Report and Recommendation in the time period

permitted. Based on the Report and Recommendation of the Magistrate Judge, and

upon all of the files, records, and proceedings herein, the Court now makes and enters

the following Order:

         IT IS HEREBY ORDERED that

         1.      Defendant’s Pretrial Motion to Suppress Evidence [Docket No. 54] is

DENIED; and

         2.      Defendant’s Motion to Suppress Statements, Admissions, and Answers

[Docket No. 55] is DENIED.



Dated:           November 3, 2015

                                                     s/Michael J. Davis
                                                     MICHAEL J. DAVIS
                                                     United States District Judge
